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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY

  I N RE : I NSULIN P RICING                            Case No. 2:23-MD-03080
  L ITIGATION                                           MDL No. 3080


                                                        Hon. Brian R. Martinotti
                                                        Hon. Rukhsanah L. Singh


 DOCUMENT RELATES TO:

 The State of Mississippi, ex rel. Lynn Fitch, Attorney General v. Eli Lilly & Co., et al.
 No. 2:23-cv-04364 (BRM)(RLS)


   MISSISSIPPI’S OPPOSITION TO MANUFACTURER DEFENDANTS’
           MOTION FOR JUDGMENT ON THE PLEADINGS


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                                   INTRODUCTION

        The Manufacturer Defendants have known since day one that GLP-1 drugs are

 at-issue in this case. The GLP-1s were included in the State’s original, June 2021

 complaint and in both subsequent amendments. In fact, each Manufacturer Defendant

 admitted in their November 2022 Answers that GLP-1s are at-issue and included in the

 State’s claims. Further, all Defendants have participated in discovery related to all at-

 issue drugs. Manufacturer Defendants alone have produced nearly 280,000 documents

 to the State related to the at-issue GLP-1s. The Manufacturers cannot credibly claim

 they are surprised that the State intends to pursue its claims as they relate to the GLP-

 1s.

        Tellingly absent from the lengthy record in this case, until just recently, is any

 allegation or argument by the Manufacturer Defendants that the GLP-1s are covered

 by patents or that patent law preempts the State’s claims. The State’s complaint does

 not mention GLP-1 patents, allege misuse of patents, or tie Defendants’ misconduct to

 patents in any way. Indeed, the State’s allegations regarding Defendants’ misconduct

 are the same for all at-issue drugs – those that are purportedly patent-protected and

 those that are not.

        Notably, in their Answers, the Manufacturers did not assert patent law as a

 defense to the State’s claims. (Miss. Dkts. 116, 117, 118). Nor did they argue patent

 preemption in Rule 12(b)(6) motions filed over the last four years in this case or in at

 least seven other factually similar cases also involving GLP-1s. (Miss. Dkts. 84, 104; see,

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 e.g., City of Miami v. Eli Lilly & Co., et al., 2022 WL 198028, at *1, n.1 (S.D. Fla. Jan. 21,

 2022); Harris Cnty., Texas v. Eli Lilly & Co., et al., 2020 WL 5803483, at *1 (S.D. Tex.

 Sept. 29, 2020)).

        In their Rule 12(b)(6) motion filed in this case on March 21, 2022, the

 Manufacturers argued that the State’s allegations against them are insufficient to state

 violations of the Mississippi Consumer Protection Act (MCPA) and the common law.

 The Mississippi Federal Court denied the Manufacturers’ motion in its entirety and held

 that the State’s claims are pled with “in-depth detail” – pleading that satisfies the

 heightened Rule 9(b) standard even though not required to state an MCPA claim. (Miss.

 Dkt. 111 at 14 (“In its 118-page Complaint, the State delineates each Manufacturer

 Defendant’s alleged participation in the “Insulin Pricing Scheme,” including specific

 drugs, prices, timelines, knowledge, and intent.”)). The court similarly denied the PBM

 Defendants’ separate Rule 12(b)(6) motion. (Miss. Dkt 144 at 8).

        Importantly, the Manufacturers’ Rule 12(b)(6) motion was not limited to any

 subset of the at-issue drugs. Their arguments were directed at all at-issue drugs, referring

 to “diabetes medications” nearly 30 times in their motion. (See, e.g., Miss. Dkt. 84 at 5

 (arguing that the complaint “alleges that the Manufacturer and PBM Defendants

 engaged in a purported “Insulin Pricing Scheme” that increased the prices the State and

 its citizens paid for the diabetes medications”) (emphasis added)). Thus, the Mississippi

 Court’s rejection of those arguments and its ruling on the sufficiency of the State’s

 allegations applies to all at-issue drugs.

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        Nearly two years after serving their Answers, the Manufacturers have filed a

 motion to dismiss pursuant to Rule 12(c) raising what they call a “threshold question”

 that should be “promptly” decided. (MDL Dkt. 131 at 3). Focusing on the GLP-1s, the

 Manufacturers make two arguments: (1) that the State’s allegations related to GLP-1s

 are insufficient; and (2) that the GLP-1s are covered by patents which preempt the

 State’s claims related to those drugs.

        The first argument has already been decided. The State’s allegations have been

 found sufficient to state each of its claims against the Manufacturers, and they have not

 provided any factual or legal basis for this Court to reconsider the Mississippi Court’s

 ruling. Further, the State’s claims are premised on unfair and deceptive conduct that is

 the same for all at-issue drugs. That some of the at-issue GLP-1s are newer is immaterial

 and certainly does not preclude Defendants from using the GLP-1s to further their

 scheme.

        The Manufacturers’ second argument – patent preemption – is factually and

 legally unsupported. For starters, the Manufacturers have not met their heavy Rule 12(c)

 burden of proof – they have not cited undisputed facts or otherwise provided proof

 that the GLP-1s are covered by patents or, even if so, that the Manufacturers have the

 right to assert those patents as a shield to liability.

        Lack of proof aside, patent law does not immunize unlawful conduct such as

 that alleged here. Courts around the country, including the Federal Circuit and the

 United States Supreme Court, agree that patent law does not preempt state law claims based

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 on “marketplace misconduct” - unlawful conduct that is not regulated by federal patent

 laws.

         Tellingly, the Manufacturers largely ignore this well-developed body of law and

 instead rely on two facially distinguishable cases. Both involve state laws or claims

 exclusively targeting patented drugs with no allegations of unlawful conduct. The State’s

 claims here are much broader and are premised on Defendants’ unfair, deceptive, and

 conspiratorial conduct, which is wholly separate and unrelated to patent law. Such

 conduct has been recognized as unlawful by every court to consider it, including the

 Mississippi Court in this case. (Miss. Dkt. 111, 144).

         The Manufacturers’ Rule 12(c) motion is factually and legally flawed and should

 be denied.

                                  LEGAL STANDARD

         Rule 12(c) motions are disfavored as contrary to “the long-established policy of

 the federal rules [] to decide cases on the proofs.” Blanchard Sec. Co. v. Rahway Valley R.R.

 Co., 2004 WL 7329960, at *3 (D.N.J. Dec. 27, 2004). A Rule 12(c) motion must be

 denied unless the movants establish that no material issue of fact remains to be resolved.

 See Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008).

         Courts typically apply the same standard to Rule 12(c) motions as those under

 Rule 12(b)(6). In re Effexor Antitrust Litig., 357 F. Supp. 3d 363, 380 (D.N.J. 2018)

 (citation omitted). “Under either rule, the Court must accept all well-pleaded factual

 allegations in the complaint as true and draw all reasonable inferences in favor of the

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  nonmoving party.” Id. (citation omitted). A “complaint should not be dismissed unless

  it appears beyond doubt that the facts alleged in the complaint, even if true, fail to

  support the claim.” Id. (internal quotation marks and citation omitted). The moving

  party bears the burden to prove that there are no material issues of fact to be resolved

  and that the movant is entitled to judgement as a matter of law. Mu Sigma, Inc. v. Affine,

  Inc., 2018 WL 1064211, at *4 (D.N.J. Feb. 27, 2018) (Martinotti, J.).

                                       ARGUMENT

  I.    The State’s Claims Are Sufficiently Pled.

        A.     The State’s Claims were Challenged and Found to be Sufficient

        The Manufacturers argue that the State’s allegations as to the GLP-1s are

  insufficient. (MDL Dkt. 200-1 at 13-15). However, the Manufacturers have already

  challenged the sufficiency of the State’s allegations as to all at-issue drugs and their

  motion was denied in its entirety. The Manufacturers did not seek reconsideration of

  that ruling and have not identified any new facts or law justifying reconsideration now,

  more than two years later, by a different court.

         Any argument that the Mississippi Court’s ruling somehow does not apply to the

  State’s GLP-1 allegations should be rejected out of hand. The Manufacturers’ 12(b)(6)

  motion was expressly directed at all at-issue drugs, as was the court’s ruling denying that

  motion. (See, e.g.,, Miss. Dkt. 111 at 1, 2 (order recognizing that the State’s allegations

  pertain to diabetes medications beyond just insulin); Miss. Dkt. 84 (Manufacturers




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  12(b)(6) memorandum, referring to “diabetes medications” nearly 30 times)). The

  Manufacturers have not claimed otherwise.

           Because the State’s allegations have been found to be sufficient and because the

  Manufacturers failed to identify any factual or legal basis for reconsidering the

  Mississippi Court’s ruling, their Rule 12(c) motion based on the sufficiency of the State’s

  pleadings should be denied.

           B.    The State’s Allegations Are More Than Sufficient to Defeat the
                 Manufacturer’s Motion

           The Manufacturers’ contention that the State has not pled any unlawful conduct

  related to the GLP-1s is also wrong. First, to make their argument, the Manufacturers

  mischaracterize the State’s allegations. Contrary to the Manufacturers’ assertions1 and

  viewing the allegations and drawing all reasonable inferences in favor of the State, the

  complaint alleges the following relevant facts:

           •     Insulins and GLP-1s are used to treat Type 2 diabetics which represent

                 90-95% of all diabetics. (TAC ¶¶ 239, 274-76).2




  1
    Manufacturers claim that the complaint “devotes a mere four paragraphs and one
  figure to GLP-1s.” (MDL Dkt. 200-1 at 5). In the next sentence, however, they purport
  to summarize the “entirety of the facts pled as to GLP-1s” and cite to nine paragraphs
  in the complaint. (Id.). As demonstrated herein, these statements and characterizations
  are false.
  2
      Citations to “TAC” refer to the Third Amended Complaint, Miss. Dkt. 71.


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         •      Manufacturer Defendants dominate the market for all diabetes

                medications, including insulins and GLP-1s. (TAC ¶¶ 5, 277, 365, 472,

                523).

         •      Insulins and GLP-1s cost the Manufacturers very little to produce. (TAC

                ¶¶ 13, 272, 350, 440-41, 523).3

         •      GLP-1s, like insulins, are treated as interchangeable commodities by the

                Manufacturers and PBMs, and are negotiated and horse-traded with

                insulins for formulary placement and Manufacturer Payments. (TAC ¶¶

                275, 349, 545; id. at Fig. 10; Senate Rpt. at 62, 79).

         •      Insulins and GLP-1s are included together in the same rebate contracts –

                defined as the same class of drugs (diabetes) – between Manufacturers and

                PBMs. (TAC ¶¶ 131, 188, 231, 457, 545; Senate Rpt. at 79). 4




  3
    A recent study, published after this action was filed, corroborates the State’s allegations
  and concludes that Ozempic could be profitably manufactured for less than $5 per
  month,       despite      having       a    list     price  of    nearly     $1,000.       See
  https://fortune.com/europe/2024/03/28/ozempic-maker-novo-nordisk-facing-pressure-as-study-
  finds-1000-appetite-suppressant-can-be-made-for-just-5/.
  4
    Citations to “Senate Rpt.” refer to the Senate Finance Committee’s January 2021
  report “Insulin: Examining the Factors Driving the Rising Cost of a Century Old
  Drug,” available at https://www.finance.senate.gov/imo/media/doc/Grassley-
  Wyden%20Insulin%20Report%20(FINAL%201).pdf. As the Manufacturers note, the
  report was incorporated by reference in the TAC, and may therefore be considered by
  the Court. (MDL Dkt. 200-1 at 5).

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       •     The Manufacturers make the same Manufacturer Payments to PBMs for

             insulins and GLP-1s, including rebates, administrative fees, price

             protection fees, etc., and do so in exchange for preferential formulary

             placement of those drugs. (TAC ¶¶ 20-23, 315, 317, 350, 386, 390, 397-

             400, 545).

       •     The Manufacturers have made the same lockstep, artificial, and extreme

             price increases, over the same period of time, for the GLP-1s as with

             insulin. (TAC ¶¶ 287, 289-95, 350, 523, 540; id. at Figs. 7-10; Senate Rep.

             at 65).

       •     The same internal Manufacturer pricing committees set the prices and

             Manufacturer Payments for both insulins and GLP-1s. (See, e.g., Senate

             Rep. at 52, n. 255 (“Pricing decisions for drugs marketed and sold by

             Novo Nordisk in the U.S. are made by its USPC.”)).

       •     The same Pharmacy & Therapeutics committees within the PBMs

             evaluate both insulins and GLP-1s, which are included on the same PBM

             formularies at the center of the scheme. (TAC ¶¶ 457-60, 473, 522; Senate

             Rep. at 35-36).

       •     The Manufacturers report the list prices of insulins and GLP-1s in the

             same manner, to the same entities, knowing that their reported prices are




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               untethered from their actual prices and are used to set the prices paid by

               diabetics and the State. (TAC ¶¶ 50, 65, 79, 302, 435-40, 475, 522).

        •      The Manufacturers failed to disclose and concealed their actual prices for

               insulins and GLP-1s. (TAC ¶¶ 432-443, 463-65, 467-68, 471, 475, 479,

               509, 522).

        •      In furtherance of the scheme, the PBMs ensure that the Manufacturers’

               reported prices are used to set the amount that payors, such as the State,

               and diabetics pay for insulins and GLP-1s. (TAC ¶¶ 179, 226, 229, 362,

               417, 426, 429, 444-45, 449, 473, 522).

        •      Defendants’ misconduct with respect to both insulins and GLP-1s has

               significantly harmed diabetics by depriving diabetics access to lower priced

               drugs and affordable treatments. (TAC ¶¶ 26-29, 362, 462, 483-97, 527)5).

  Clearly, the State’s overall allegations regarding the treatment of the at-issue drugs in

  the marketplace very much apply to the GLP-1s.

        The differences Manufacturers identify between insulins and GLP-1s are

  insignificant. First, Manufacturers assert that the State’s factual allegations about the

  scheme somehow do not apply to GLP-1s because they are new drugs. (MDL Dkt. 200-

  1 at 14). This Court has previously considered the same argument in the consumer class


  5
    Recent reports, released after this case was filed, further corroborate the State’s
  allegations related to GLP-1s. See, e.g., https://www.cbsnews.com/news/ozempic-
  diabetes-drugs-high-price-effects/

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  action and found it “unconvincing.” In re Insulin Pricing Litig., 2020 WL 831552, at *4,

  (D.N.J. Feb. 20, 2020) (Martinotti, J.). As the Court observed in that case, “the length

  of time the New Insulins have been on the market bears no relationship to whether

  their prices are the result of the same price-fixing scheme Plaintiffs allege regarding the

  other insulins.” Id.6

         Second, Manufacturers suggest that research and development (“R&D”) costs

  make up a “large percentage” of the GLP-1s’ prices thereby distinguishing them from

  insulins. (MDL Dkt. 200-1 at 5, 14-15). However, their cited sources, (id. at 5, n.4),

  actually refute this. The Senate report indicates that the Manufacturers’ R&D costs

  constituted an insignificant portion of their diabetes franchise spending, even with GLP-

  1s included. While Eli Lilly reported plans to invest most of its R&D spending on three

  drugs including its GLP-1 Trulicity, the Senate committee noted that “even with these

  significant studies, the company’s R&D spending for its entire diabetes franchise was

  budgeted to be just one-third of its sales, goods and administrative expenses[.]” (Senate

  Rep. at 21). Similarly, according to the Senate committee’s figures, Sanofi’s total five-

  year R&D cost for its GLP-1 product Soliqua and four other drugs, was approximately

  2.4% of the company’s net sales ($902 million in R&D, and net sales of about $37

  billion). (Id. at 22-23). Novo Nordisk “failed to provide a detailed accounting of its



  6
   Further, the GLP-1s are in fact older than some of the at-issue insulins – for example,
  Victoza and Trulicity (GLP-1s) were FDA-approved in 2010 and 2014, before Toujeo,
  Tresiba, and Basaglar (insulins). (TAC ¶ 277 Tbl. 1).

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  R&D expenditures” but the Senate report noted its total R&D expenditures for diabetes

  and obesity from 2017 to 2019 were approximately $5.2 million, and places its R&D

  spending far below Sanofi’s. (Id. at 23). Further, To the extent the Manufacturers assert

  these R&D expenses are significant, it is a disputed issue of fact that cannot be resolved

  on a Rule 12(c) motion. Rosenau, 539 F.3d at 221.7

        Neither of the purported differences pointed to by the Manufacturers to

  distinguish GLP-1s from the other at-issue drugs are material to the Court’s analysis.

        Additionally, the Manufacturers recently attempted to exclude GLP-1s from

  discovery in this MDL based on many of the same arguments that they assert in their

  Rule 12(c) motion. (MDL Dkt. 166 at 18-20). The Court, however, rejected their

  position and entered a discovery plan expressly providing that “the relevant drugs for

  discovery include insulin products and glucagon-like peptide receptor agonists (“GLP-

  1s”).” (MDL Dkt. 198 at § II(D)). As alleged by the State and recognized by the

  Mississippi Court, the unlawful scheme executed by Defendants applies equally to all

  at-issue drugs including the GLP-1s.




  7
   Notably, the Manufacturers cite paragraph 270 of the State’s complaint for the general
  proposition that R&D costs may comprise a large part of a drug’s price. The State does
  not allege that R&D costs for GLP-1s fall into this category, and in fact, alleges the
  opposite. (TAC ¶¶ 13, 272, 350, 440-41, 523). Further, in their Answers, Defendants
  Novo Nordisk and Sanofi denied the State’s allegations in paragraph 270. (Miss. Dkt.
  116 at ¶ 270; Miss. Dkt. 118 at ¶ 270).

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  II.    The Manufacturers Have Failed To Meet Their Burden of Proof As To
         Patent Preemption.

         Manufacturer Defendants, as the moving parties, have the burden to establish

  that there are no disputed issues of material fact. See In re Asbestos Prod. Liab. Litig., 822

  F.3d 125, 133 n.6 (3d Cir. 2016) (“federal preemption is an affirmative defense on which

  the defendant bears the burden.”); In re Allergan Biocell Textured Breast Implant Products

  Liab. Litig., 537 F. Supp. 3d 679, 705 (D.N.J. 2021) (Martinotti, J.). Their motion falls

  well short and should be denied.

         As a threshold matter, the Manufacturers have presented no facts, undisputed or

  otherwise, demonstrating that the at-issue GLP-1s are patent-protected, or that the

  Manufacturer Defendants own any relevant patents or patent rights – foundational

  elements of the Manufacturers’ affirmative defense of patent preemption. See Univ. of

  Colo. Found., Inc. v. Am. Cyanamid Co., 196 F.3d 1366, 1370 (Fed. Cir. 1999) (patent

  preemption is an affirmative defense).

         The Manufacturers’ preemption argument is not based on allegations in the

  complaint or admissions in their Answers. Rather, the Manufacturers baldly claim that

  the GLP-1s “were covered by patents at the time the State filed the lawsuit and remain

  under patent . . . .” (MDL Dkt. 200-1 at 6). In a footnote, the Manufacturers reference

  several patent numbers and then cite a district court case for the notion that courts may

  take judicial notice of “patent documents” when considering a motion to dismiss, (id.

  at 6, n. 5.), but they did not attach any patent documents to their motion. Nor did the


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  Manufacturers explain how the footnoted patent numbers “cover” or even relate to the

  GLP-1s, when they were issued or expire, or even claim to own or have rights to the

  footnoted patent. Instead, the Manufacturers assume that the Court and the State will

  blindly accept the statements in their brief or else that the burden has somehow shifted

  to the State to disprove their affirmative defense. Neither is sufficient to satisfy their

  heavy burden.8 Accordingly, their motion should be denied. Mu Sigma, Inc., 2018 WL

  1064211, at *4.

  III.   Patent Preemption Fails.

         There are three types of preemption: (1) explicit preemption, (2) field

  preemption, and (3) conflict preemption. Hunter Douglas, Inc. v. Harmonic Design, Inc., 153

  F.3d 1318, 1332 (Fed. Cir. 1998) (citation omitted). The Manufacturers do not specify

  what type of preemption they assert, but conflict preemption is the only possibility.9

  Conflict preemption includes two sub-types. The first, impossibility preemption, is




  8
    Even if the Manufacturers satisfied this threshold issue, which they have not, the
  State’s claims would still not be preempted.
  9
    There is no explicit preemption or field preemption. See Hunter Douglas, 153 F.3d at
  1332 (“federal patent law plainly does not provide for explicit preemption”); id. at 1333
  (“Because of the lack of such congressional intent, in conjunction with the underlying
  presumption disfavoring preemption, there is no field preemption of state unfair
  competition claims” even when such claims “rely on a substantial question of federal
  patent law.”).


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  facially inapplicable. 10 The second is when “state law stands as an obstacle to the

  accomplishment and execution of the full purposes and objectives of Congress[.]” Id.

  (citation and internal quotations omitted). This second sub-type of conflict preemption

  arises in the two cases relied upon by the Manufacturers and is the only potential basis

  for their motion. It too fails.

         To shoehorn the State’s claims into conflict preemption, the Manufacturers

  characterize the claims as merely based on pricing decisions alone, unrelated to any

  allegations of unlawful conduct. This is false, as the Complaint allegations make clear.

  Notably, the Manufacturers similarly mischaracterized the State’s claims in their original

  Rule 12(b)(6) motion, arguing that State’s allegations are insufficient because the MCPA

  “prohibits only deceptive prices – not allegedly high prices.” (Miss. Dkt. 84 at 1 (emphasis

  in the original); id. at 1 (asserting that “all the State alleges” is “that the “price” of

  diabetes medications is higher than it should be, and that the PBMs and Manufacturers

  in turn make more money”) (citations omitted)). The Mississippi Court rejected

  Manufacturers’ overly simplistic view, found that the State “plausibly alleges [a]

  deceptive practice under the MCPA,” and denied the Manufacturers’ motion in its

  entirety. (Miss. Dkt. 111 at 13, 17 (citations omitted)). Indeed, the State alleges that the

  Manufacturers published false list prices that they knew were untethered to the actual



  10
    Impossibility preemption applies when “it is impossible for a private party to comply
  with both state and federal requirements.” Hunter Douglas, 153 F.3d at 1332 (citation
  omitted).

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  prices and that they knew were used to set the prices paid by Mississippi diabetics and

  payors, including the State. They repeatedly and in lockstep raised the list prices of all

  at-issue drugs, misrepresented and concealed the reasons behind the price increases,

  and continually increased the amount of Manufacturer Payments to the PBMs with the

  intent and effect of foreclosing diabetics’ access to lower priced treatments. They then

  worked with PBMs to conceal and obfuscate their misconduct in furtherance of their

  scheme, in order to maximize Defendants’ profits, to the detriment of diabetics and the

  State.

           Accordingly, the State’s claims are based on conduct that is unlawful under the

  MCPA, which applies to all at-issue products - insulins and GLP-1s, whether patented

  or unpatented. The unlawful conduct resulted in false, inflated, and deceptive prices for

  all at-issue drugs, but it is the misconduct, not simply the setting of prices, that forms

  the basis of liability. As set forth below, case law resoundingly and conclusively

  establishes that federal patent law does not preempt state law claims based on unlawful

  conduct that is not regulated by patent law.

           A.    The Presumptions Set Forth By the U.S. Supreme Court Weigh
                 Heavily Against Preemption of the State’s Claims

           “The Supreme Court has set forth two presumptions that guide the preemption

  analysis.” Hunter Douglas, 153 F.3d at 1331-32.

           First, it is presumed that Congress does not “cavalierly” preempt state law
           causes of action, for “the States are independent sovereigns in our federal
           system.” “[T]he historic police powers of the States were not to be
           superseded by the Federal Act unless that was the clear and manifest

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         purpose of Congress,” particularly when Congress has “legislated ... in a
         field which the States have traditionally occupied.” Second, preemption
         analysis is guided by the “oft-repeated” principle that “[t]he purpose of
         Congress is the ultimate touchstone.”

  Id. at 1332 (emphases added) (citations omitted).

                1.     Consumer Protection Is an Area Traditionally Regulated By States

         There is a “presumption against finding pre-emption of state law in areas

  traditionally regulated by the States.” California v. ARC Am. Corp., 490 U.S. 93, 101

  (1989). “Given the long history of state common-law and statutory remedies against …

  unfair business practices, it is plain that this is an area traditionally regulated by the

  States.” Id. 11 Likewise, “[t]hroughout our history the several States have exercised their

  police powers to protect the health and safety of their citizens… which are primarily,

  and historically, . . . matter[s] of local concern[.]” Medtronic, Inc. v. Lohr, 518 U.S. 470,

  475 (1996) (internal quotation marks and citation omitted). Under the Supreme Court’s

  jurisprudence, “the presumption against preemption has greater force because of the




  11
     The Supreme Court’s analysis in ARC Am. highlights the high bar for finding a
  conflict sufficient to overcome the presumption against preemption. The Supreme
  Court held that federal antitrust law prohibiting recovery by indirect purchasers did not
  preempt state antitrust laws, which allowed recovery by indirect purchasers. 490 U.S. at
  101. Despite the apparent conflict between the federal and state rules, the Supreme
  Court found that the state laws “are consistent with the broad purposes of the federal
  antitrust laws: deterring anticompetitive conduct and ensuring the compensation of
  victims of that conduct.” Id. at 102. The Court stated that it would be “inappropriate”
  to consider the federal rule “as defining what federal law allows States to do under their
  own antitrust law.” Id.

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  states’ long-standing governance over such affairs.” Hunter Douglas, 153 F.3d at 1334

  (citations omitted).

         Here, Congress has not evidenced any intent, much less a “clear and manifest

  purpose” for federal patent law to preempt state tort law. “[T]he law of unfair

  competition… [has] coexisted harmoniously with federal patent protection for almost

  200 years, and Congress has given no indication that their operation is inconsistent with

  the operation of the federal patent laws.” Id. (quoting Bonito Boats, Inc. v. Thunder Craft

  Boats, Inc., 489 U.S. 141, 166 (1989)) (quotation marks omitted). The patent statute does

  not even expressly prohibit states from regulating the price of patented goods,

  Biotechnology Indus. Org. v. D.C. , 496 F.3d 1362, 1372 (Fed. Cir. 2007), and there certainly

  is no clear and manifest intent of Congress to prohibit states from regulating unfair and

  deceptive conduct related to patented products. Thus, the first presumption weighs

  against preemption – with added force since the state law at issue governs areas

  traditionally regulated by the states.

                2.       Congress did not intend for patent law to immunize unlawful
                         conduct in the marketplace.

         The Supreme Court has identified three objectives of the federal patent laws:

         First, patent law seeks to foster and reward invention; second it promotes
         disclosure of inventions to stimulate further innovation and to permit the
         public to practice the invention once the patent expires; third, the stringent
         requirements for patent protection seek to assure that ideas in the public
         domain remain there for the free use of the public.




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  Hunter Douglas, 153 F.3d at 1333 (quoting Aronson v. Quick Point Pencil Co., 440 U.S. 257,

  262 (1979)) (emphases added).

        The Manufacturers focus on the first objective and contend that patent law

  immunizes their misconduct and preempts the State’s GLP-1 claims simply because the

  allegations relate to the price of a patented good. The Manufacturers are wrong. The

  Federal Circuit stated that Congress designed patent law to reward invention in a

  specific way:

        Patents are designed to promote innovation by providing the right to exclude
        others from making, using, or selling an invention. They enable innovators to
        obtain greater profits than could have been obtained if direct competition
        existed. These profits act as incentives for innovative activities.

  Biotech, 496 F.3d at 1373 (quoting H.R. Rep. No. 98-857, at 17 (1984)) (emphasis added).

  Patents reward inventors with the right to exclude other sellers of the patented product

  for a time. While the patent monopoly may allow greater profits in some circumstances

  it does not liberate the inventor from other competition. After all, a patented $500

  mousetrap is unlikely to generate any profits, because competitor products could remain

  on the market at a much lower price. Moreover, the patent monopoly does not excuse

  the patentee from the rules of the marketplace. As the Loestrin court explained, “A

  patent conveys a temporary monopoly on individual drugs – not a right to use… patents

  as part of a scheme to interfere with competition beyond the limits of the patent

  monopoly.” In re Loestrin 24 Fe Antitrust Litig., 261 F. Supp. 3d 307, 352 (D.R.I. 2017).




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         The court in In re EpiPen Marketing, Sales Practices and Antitrust Litig. evaluated the

  same argument Manufacturers make here, with defendants asserting “that public policy

  supports Mylan’s freedom to set prices for the EpiPen – as its patent holder – because

  the exclusivity granted by patent rights encourages innovation.” 336 F. Supp. 3d 1256,

  1338, n.25 (D. Kan. 2018). The EpiPen court found that, as alleged by plaintiffs, the

  defendants “did more than simply set prices as a patent holder” but instead “engaged

  in various anticompetitive and fraudulent competition[.]” Id. Accepting the plaintiff’s

  allegations as true, the court concluded that “public policy does not favor this type of

  conduct.” Id.

  There are numerous GLP-1s. Each Manufacturer sells at least one allegedly patented

  GLP-1. Thus, no Manufacturer has a patent monopoly over the GLP-1 drug category.

  Any lawful patent monopoly enjoyed by a particular GLP-1 could not and did not drive

  GLP-1 prices. Indeed, the purported GLP-1 patents are irrelevant to competition

  within the GLP-1 category. Most importantly, competition among the GLP-1s

  should have kept prices low, but did not. The State alleges the Manufacturers

  manipulated the GLP-1 market by paying PBMs for favorable or exclusive

  formulary placement and disadvantaging or excluding lower-priced, competitor

  drugs – just as they did for the unpatented at-issue drugs. Defendants’ unlawful

  conduct applicable to all of the at-issue drugs, patented or not, artificially inflated the

  prices of GLP-1s.



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         Congress’ purpose does not support patent preemption of the State’s claims that

  unlawful conduct caused artificially inflated prices wholly separate from patent

  exclusivity.

         B.      The States’ Claims Are Based On Manufacturers’ Misconduct and
                 Are Not Preempted By Federal Patent Law.

         The Manufacturers contend that patent preemption cases involving allegations

  of misconduct in the marketplace are somehow inapposite to the State’s claims. (MDL

  Dkt. 200-1 at 12). Yet case law plentifully establishes that allegations of misconduct in

  the marketplace, like that alleged by the State, lead to no patent preemption, unlike the

  two cases Manufacturers cite. To avoid this outcome, Manufacturers assert that the

  State’s claims are about high prices alone and that patent law shields them from any

  liability related to patented medications. (See id. at 8-12). This characterization of the

  allegations, however, is divorced from reality. First, as discussed above, the State’s

  claims are precisely about unlawful conduct, with the false, inflated prices resulting from

  that unlawful conduct. Second, the marketplace has rules, which the State may enforce

  against all parties, patentee or not. Indeed, a robust body of case law establishes that

  state law claims based on marketplace misconduct, like Mississippi’s, are not preempted

  by federal patent law.

         Under well-established Federal Circuit precedent, if a plaintiff bases its action on

  conduct that is not protected or governed by federal patent law, the state law remedy is

  not preempted. Hunter Douglas, 153 F.3d at 1335. As the Federal Circuit has recognized,


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  “[a] state has every right to protect its citizens and residents” from wrongful conduct

  “by any party, including a patentee.” Dow Chemical Co. v. Exxon Corp., 139 F.3d 1470,

  1477 (Fed. Cir. 1998). Claims arising from bad faith misconduct in the marketplace are

  not preempted by federal patent law. In re Loestrin, 261 F. Supp. 3d at 357 (citing Dow,

  139 F.3d at 1478).

         In Dow, the Federal Circuit considered whether a state unfair competition claim

  was preempted by federal patent law. 139 F.3d at 1471. The Federal Circuit noted that

  the tort’s “required elements take place in the marketplace[.]” Id. at 1477. The court’s

  majority judged this to be “the primary issue” ultimately leading it to conclude that the

  claim was not preempted, and to reverse the district court. Id.

         In Hunter Douglas, the Federal Circuit considered “to what extent federal patent

  law preempts state law causes of action prohibiting tortious activities in the marketplace,

  when to prevail on them, the plaintiff must prove that a United States patent is either

  invalid or unenforceable.” 153 F.3d at 1321. After thorough analysis of patent

  preemption, the Federal Circuit found that “to escape preemption, the plaintiff would

  need to allege and prove ultimately [bad faith in the marketplace].” Id. at 1337. Of

  course, unlike the causes of action in Hunter Douglas, the State’s claims in this case do

  not require proof of any patent invalidity. The State’s claims are based on misconduct

  wholly outside of the patent system and unrelated to any patent issue, making its case

  even more obviously outside the scope of patent preemption.



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         In Zenith Elecs. Corp. v. Exzec, Inc., the Federal Circuit confirmed its decisions in

  Dow and Hunter Douglas and held that patent law did not preempt the state law claims

  involving allegations of bad faith marketplace misconduct. 182 F.3d 1340, 1355 (Fed.

  Cir. 1999). The Federal Circuit also explained the lack of conflict between patent law

  and unfair competition law: “patent law is not frustrated because bad faith marketplace

  [conduct] concerning patents do[es] not further the purposes of patent law.” Id. at 1354.

  (citation omitted).

         District courts across the nation have repeatedly and consistently cited and

  applied the holdings of Dow and Hunter Douglas to find that allegations of marketplace

  misconduct are not preempted by patent law. For example, the court in In re Loestrin 24

  Fe Antitrust Litig. found it “plain” under the precedents that state law claims, including

  consumer protection claims, were not preempted because they required different

  elements than a claim under patent law, and the tort occurred in the marketplace. 261

  F. Supp. 3d at 357. The court in EpiPen, quoting Dow, agreed, finding that the plaintiffs’

  state consumer protection claims were not preempted because they alleged misconduct

  in the marketplace. 336 F. Supp. at 1334. The EpiPen defendants cited the same two

  cases cited by Manufacturers here: Biotech, 496 F.3d at 1374, and Se. Pa. Transp. Auth. v.

  Gilead Scis., Inc. (“SEPTA”), 102 F. Supp. 3d 688, 703 (E.D. Pa. 2015). In re EpiPen, 336

  F. Supp. 3d at 1333. The EpiPen court considered the cases and found those cases

  unavailing, noting that “Defendants cited no authority holding that the federal patent

  law permits a patent holder to commit unfair and deceptive practices that violate state

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  consumer protection laws – simply because it owns patent rights. Indeed, many courts

  have concluded just the opposite.” Id. at 1333-34. See also In re DDAVP Indirect Purchaser

  Antitrust Litig., 903 F. Supp. 2d 198, 215-18 (S.D.N.Y. 2012); Picone v. Shire PLC, 2017

  WL 4873506, at *14 (D. Mass. Oct. 20, 2017); Studio 010 Inc. v. Digital Cashflow LLC,

  2022 WL 1215529, at *4 (W.D. Wash. Apr. 4, 2022).

         This Court, in alignment with other district courts and the Federal Circuit, has

  also recognized that allegations of bad faith in the marketplace overcome patent

  preemption, including with regard to state consumer protection law. In re Effexor

  Antitrust Litig., 357 F. Supp. 3d at 383; In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395,

  409 (D.N.J. 2018). See also In re K-Dur Antitrust Litig., 2007 WL 5297755, at *24-25

  (D.N.J. Mar. 1, 2007) (recognizing that “evidence of marketplace conduct can revive a

  claim otherwise subject to preemption under federal patent law” and finding plaintiffs’

  claims preempted due to “the absence of any legally cognizable allegations of

  marketplace conduct”).

         Case law addressing “reverse payment settlements” is instructive here because

  these claims are not preempted by patent law. Reverse payments involve payments from

  a patentee to another drug manufacturer, with an agreement by the other manufacturer

  not to produce versions of the patented drug. F.T.C. v. Actavis, Inc., 570 U.S. 136, 140-

  41 (2013). The Supreme Court held that such payments could violate antitrust law by

  diminishing competition and that the claims should be permitted to proceed, reversing

  the Eleventh Circuit which had found otherwise. Id. at 141. Likewise here, the rebates

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  and other payments made by Manufacturers to PBMs for favorable or exclusive

  formulary position are payments to diminish competition between the GLP-1s. While

  the State does not assert antitrust claims, the Supreme Court precedent on such

  payments further supports the clear conclusion that this type of conduct, which occurs

  outside the patent system and in the marketplace, is not immunized by patent law.

         The rule that marketplace misconduct claims are not preempted logically follows

  from the fact that “state unfair competition law regulates conduct in a different field

  from federal patent law.” Hunter Douglas, 153 F.3d at 1334. The Manufacturers do not

  address this body of cases, including those already cited by the State, except to recognize

  that they each involved alleged misconduct in the marketplace, and to wrongly suggest

  that the State’s claims do not. (MDL Dkt. 200-1 at 12-13). Implicit in their argument is

  the understanding that misconduct in the marketplace is not preempted – a point that

  is beyond genuine dispute.

         C.    The Cases Cited By the Manufacturers Are Inapposite, Because
               They Did Not Involve Marketplace Misconduct

         The Manufacturers primarily rely on two cases to argue for preemption, against

  the weight of the above precedent. Both cases are inapposite, however, because neither

  involved allegations of misconduct in the marketplace.

         Biotech was a pre-enforcement challenge to a statute passed by the District of

  Columbia’s city council. 496 F.3d at 1365. The statute prohibited excessive prices




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  strictly for patented drugs sold within D.C.12 Id. About two months before the statute

  was to take effect, two industry groups of drug manufacturers filed suit to challenge the

  law, alleging it was invalid under the Commerce Clause and preempted by patent law.

  Id. at 1366. The plaintiffs’ challenge was to the law on its face – and therefore involved

  no allegations of unlawful conduct.

        As the Biotech court said:

        Of course, the patent laws are not intended merely to shift wealth from
        the public to inventors. Their purpose is to “promote the Progress of ...
        useful Arts,” U.S. Const. art. I, § 8, cl. 8, ultimately providing the public
        with the benefit of lower price through unfettered competition… If the
        market functions properly, this new participation will bring down the
        formerly elevated price of the patented product to competitive levels.

  Id. at 1373. The State’s claim here is that the Manufacturers, together and in conjunction

  with the PBM Defendants, have unlawfully manipulated the market, such that the

  market does not function properly. Quite the opposite of standing as an obstacle to the

  goals of patent law, the State of Mississippi’s claims are in harmony with the federal

  objective.


  12
     The D.C. statute applied only to patented drugs. Biotech, 496 F.3d at 1365. A
  concurrence to a denial of rehearing noted that “[w]hether future efforts of states to
  regulate drug prices, which for example did not only target patent drugs or did not as
  significantly or directly undermine the balance of the federal patent right, would also be
  preempted is a question that remains for another day.” Biotechnology Indus. Org. v. D.C.,
  505 F.3d 1343, 1348 (Fed. Cir. 2007) (“Biotech II”) (Gajarsa, J., concurring).

  This further distinguishes the State’s case. In addition to involving marketplace
  misconduct, the state law tort here, like the one at issue in Dow, “covers all types of
  commercial actors and does not single out patent-holders for either increased deference
  or additional scrutiny.” Dow, 139 F.3d at 1478.

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         The Manufacturers’ other cited case, SEPTA, 102 F. Supp. 3d 688, fares no

  better. The claims in SEPTA were based on the drug manufacturer’s use of its patent

  to set high prices of a single patented drug, as the SEPTA complaint made clear from

  the outset:

         This case involves a drug manufacturer’s attempt to exploit the patent laws
         by selectively charging exorbitant prices for its life-saving Hepatitis-C
         drug, Sovaldi® (sofosbuvir tablets) (“Sovaldi”). As explained herein,
         Defendant Gilead Sciences, Inc.’s (“Gilead” or “Defendant”) limited
         rights as a patent holder do not translate into a license to price gouge
         consumers, state and federal health and welfare programs, and other third
         party payers under the extraordinary circumstances presented here.

  SEPTA Compl., E.D. Pa. Case No. 2:14-cv-06978, Dkt. 1 at ¶ 1. The court saw no

  allegations of unlawful conduct or wrongdoing, other than the high prices. SEPTA, 102

  F. Supp. 3d at 704 (“Plaintiffs allege no mistake or other circumstance requiring

  restitution. They merely allege that they wish they did not have to—or will not in the

  future have to—pay Gilead the prices it charges for Sovaldi and Harvoni.”). The

  SEPTA court was clear in its opinion that the preemptive effect only applied “[t]o the

  extent that plaintiffs seek to use state law to challenge Gilead’s exercise of its exclusive

  patent rights to make pricing decisions[.]” Id. at 703. This is consistent with the rule that

  preemption does not apply to allegations that include unlawful conduct, unrelated to

  patent law, rather than mere pricing decisions.

         It appears that the application of Biotech and SEPTA is quite limited. The State

  has found no reported cases other than SEPTA that rely on Biotech for its patent



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  preemption analysis;13 nor any cases citing SEPTA regarding patent preemption. In

  contrast, Dow and Hunter Douglas, the State’s cited Federal Circuit cases, have been cited

  extensively on this issue and, like the State’s claims, involved allegations of unlawful

  conduct that is not protected by patent law.

         For all these reasons – because the Manufacturers have not met their burden to

  show the relevance of their alleged patents; because the case law dictates that

  marketplace misconduct claims like the State’s are not preempted by federal patent law

  regardless; and because the presumptions guiding preemption analysis weigh against

  preemption – the Manufacturers’ asserted preemption fails, and their motion should be

  denied.

  IV.    If the Court Grants Manufacturers’ Motion, It Should Grant the State
         Leave to Amend Its Complaint

         Even if a court grants a 12(c) motion, the nonmoving party must generally have

  an opportunity to amend the complaint. See Klitschko v. Int’l Boxing Fed’n, Inc., 2005 WL

  8174968, at *4 (D.N.J. Dec. 7, 2005) (“dismissal without leave to amend is justified only

  on the grounds of bad faith, undue delay, prejudice, or futility.”). Should the Court grant

  Manufacturers’ motion, the State requests leave to amend its complaint.




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     One case, Grand Gen. Accessories Mfg. v. United Pac.Indus. Inc., cited Biotech simply for
  the background propositions that the objectives of patent law determine whether a state
  law is preempted, and that patents are designed to promote invention by providing the
  right to exclude others, but not for the analysis relied on by Manufacturers. 2009 WL
  10672038, at *7 (C.D. Cal. Jun. 11, 2009).

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                                  CONCLUSION

        For the foregoing reasons, the Court should deny the Manufacturers’ motion for

  judgment on the pleadings.

  Dated: July 23, 2024
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                            CERTIFICATE OF SERVICE

        I hereby certify that on July 23, 2024, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system, which sent notice to all counsel of

  record.

                                                  /s/ Joanne Cicala    ______
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